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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF NEW YORK

      SECURITIES AND EXCHANGE
      COMMISSION,
                                                            Civil Action No. 1:23-cv-01346-JSR
                               Plaintiff,
              v.
                                                                     Hon. Jed S. Rakoff
      TERRAFORM LABS, PTE. LTD. and DO
      HYEONG KWON,
                               Defendants.


         DECLARATION OF DOUGLAS W. HENKIN IN SUPPORT OF DEFENDANTS’
                      MOTION FOR SUMMARY JUDGMENT
             Douglas W. Henkin declares, pursuant to 28 U.S.C. § 1746, as follows:

             1.      I am an attorney duly admitted to practice law before this Court and a partner with

     the law firm of Dentons U.S. LLP, counsel for Defendants Terraform Labs Pte. Ltd (“TFL”) and

     Defendant Kwon Do Hyeong (“Mr. Kwon”) in the above-captioned action. I make this Declaration

     in support of the Motion for Summary Judgment filed by TFL and Mr. Kwon. This declaration is

     based on my personal knowledge except as otherwise indicated.

             2.      Attached hereto are true and correct copies of the following documents:


     Exhibit                                        Exhibit Description
     Number

01                  Accounting and Corporate Regulatory Authority (ACRA) Business Profile of
                    Terraform Labs Pte. Ltd. (201813807M), June 19, 2023
02                  About Terra, Terra, retrieved from
                    https://www.terra.money/about-terra
03                  The Open Source Definition, Open Source Initiative, retrieved from
                    https://opensource.org/osd/
04                  Cryptocurrency Wallet: What It Is, How It Works, Types, Security, retrieved from
                    https://www.investopedia.com/terms/b/bitcoin-
                    wallet.asp#:~:text=A%20cryptocurrency%20wallet%20is%20a,needed%20to%20s
                    ign%20cryptocurrency%20transactions
05                  Evan Kereiakes et al., Terra Money: Stability and Adoption, April 2019


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     Exhibit                                      Exhibit Description
     Number

06                  N. Do, Terra: A price-stable and democratic money-as-protocol, March 19, 2018,
                    v0.0.8, retrieved from https://classic-docs.terra.money/docs/learn/protocol.html
07                  About the Terra Protocol, Terra Docs, retrieved from https://classic-
                    docs.terra.money/docs/learn/protocol.html
08                  What are Blockchain Protocols and How Do [T]hey Work?, Medium, Dec. 21,
                    2018, retrieved from https://medium.com/@genesishack/draft-what-are-
                    blockchain-protocols-and-how-do-they-work-94815be5efa7
09                  Explore the ecosystem, retrieved from https://classic-
                    docs.terra.money/docs/ecosystem/explore.html (last visited Oct. 27, 2023)
10                  Token Sale Agreement, dated September 13, 2018, at TFL_SEC_A_00109732
11                  D. Kwon, Announcing TerraUSD (UST)— the Interchain Stablecoin, Medium,
                    September 21, 2020, retrieved from https://medium.com/terra-money/announcing-
                    terrausd-ust-the-interchain-stablecoin-53eab0f8f0ac
12                  The Intern, Stablecoins — Defining the Terra Algorithmic Design, , Medium, June
                    9, 2021, retrieved from https://medium.com/terra-money/stablecoins-defining-the-
                    terra-algorithmic-design-5d952fdf68d
13                  Mirror Community Update — May 2021, Medium, June 1, 2021, retrieved from
                    https://medium.com/mirror-protocol/mirror-community-update-may-2021-
                    669e30e180ca)
14                  S. Kim, January 2021 Community Update, Medium, February 4, 2021, retrieved
                    from https://medium.com/terra-money/january-2021-community-update-
                    26901fc1d509
15                  Mirror Protocol, Mirror User Guide, Medium, December 3, 20202, retrieved from
                    https://medium.com/mirror-protocol/mirror-user-guide-fb1cc4a28258
16                  Terra, Countdown to Terra Mainnet Launch, Medium, April 16, 2019, retrieved
                    from https://medium.com/terra-money/countdown-to-terra-mainnet-launch-
                    f8c0b998c12a
17                  Email from abhi@nucleus.vision.com to D. Shin, dated October, 19, 2018, at
                    TFL_SEC_00203501
18                  Email from abhi@nucleus.vision.com to D. Shin, dated November 11, 2018, at
                    TFL_SEC_00265201
19                  Terra, Private Sales Terms, 2018, at TFL_SEC_00283830
21                  Validators FAQ, Terra Docs, retrieved from Validator FAQ — Terra Classic Docs
                    documentation
22                  Terra FAQs, at TFL_SEC_00269715
23                  N. Platias, et al., Anchor: Gold Standard for Passive Income on the Blockchain,
                    May 2020, at TFL_SEC_00280351
24                  Excerpts of the transcript of the deposition of J.H., dated October 6, 2023
25                  The Intern, Terra Goes Live on Wormhole V2, Medium, August 9, 2021, retrieved
                    from https://medium.com/terra-money/terra-goes-live-on-wormhole-v2-
                    12df49d446d2



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     Exhibit                                       Exhibit Description
     Number

26                  Mirror: Reflecting Asset Value On-Chain (“Mirror Whitepaper V1”), retrieved
                    from https://api-
                    new.whitepaper.io/documents/pdf?id=S1UukOJru#:~:text=Mirror%20is%20a%20
                    protocol%20that,traditional%20equities%20to%20real%20estate.&text=Mirror%2
                    0unleashes%20the%20full%20power,3.1
27                  S. Liu and I. Lee, Mirror Protocol V2 (“Mirror Whitepaper V2”), retrieved from
                    https://730577551-files.gitbook.io/~/files/v0/b/gitbook-x-
                    prod.appspot.com/o/spaces%2F-
                    MLRzugf7mxc4ryNhTuq%2Fuploads%2F0t3znySsjF6CiLrcT0mI%2FMirror_Pro
                    tocol_V2.pdf?alt=media&token=b5728c7d-7f12-4f41-8ce6-8347da02b9ff
28                  Mirror Executive Summary, last updated November 6, 2020, at
                    TFL_SEC_00160572
29                  Email from Do Kwon to Justin Lee and others dated February 22, 2021
30                  SAFT (Simple Agreement for Farmed Tokens) with Arrington XRP Capital,
                    Cayman SVP, Ltd., dated September 30, 2020, at TFL_SEC_00162679
31                  SAFT (Simple Agreement for Farmed Tokens) with Accomplice Blockchain Two
                    Limited, dated September 30, 2020, at TFL_SEC_00163782
32                  SAFT (Simple Agreement for Farmed Tokens) with Variant Fund LP, dated
                    October 2, 2020, at TFL_SEC_00171850
33                  Mirror: a synthetic asset protocol, dated September 2020, at TFL_0017068
34                  MIR Token Projections, dated September 2020
35                  Everstake, Anchor Protocol: A Savings Protocol Offering Up To 20% APY,
                    Medium, July 19, 2021, retrieved from https://everstake.medium.com/anchor-
                    protocol-for-beginners-how-to-get-started-
                    5b19f54ced6d#:~:text=The%20platform%20was%20built%20by,launched%20on
                    %20March%2017%2C%202021
36                  Anchor PowerPoint Presentation, Introducing Anchor, August 2020, at TFL-SEC-
                    ECACTRL00127395
37                  Graph of Total UST Deposited in Anchor Protocol (5/4/21-5/6/22)
38                  The Standard for Synthetic Assets: Mirror, at TFL_SEC_00276103
39                  Excerpts of the transcript of the deposition of Arrash “Christopher” Amani, dated
                    September 12, 2023
40                  Telegram thread, “Terra Network” (May 23, 2021)
41                  Telegram thread, “Anchor Protocol” (May 23, 2021)
42                  TFL_SEC_00349207-00349280 – Chat Thread

43                  [USTRADINGFIRM], Governance Proposal, Agora “Terra on-chain liquidity
                    parameters” (January 20, 2021) (“Prop 27”)
44                  [USTRADINGFIRM], Agora Governance Proposal “Liquidity Parameters – 2
                    (May 21, 2021) (“Prop 90”)
45                  Deposition of William Disomma, Exhibit 9, at
                    [USTRADINGFIRM]_SEC_TERRA_0001956)


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     Exhibit                                       Exhibit Description
     Number

46                  Excerpts of the transcript of the deposition of Matthew Cantieri, dated August 30,
                    2023
47                  Email from CJ Han to T. Fujishima, et al. dated September 2, 2020, at
                    TFL_SEC_00164630
48                  Telegram chat record between President and D. Kwon
49                  E-mail from D. Kwan to Terra Investor Relations, dated January 14, 2020, at
                    TFL_SEC_00223637
50                  Tai Mo Shan OTC Trading Agreement, dated October 4, 2020, at
                    TFL_SEC_00219392
51                  Master Loan Agreement, dated August 16, 2020
52                  Loan Confirmation, dated September 8, 2020
53                  E-mail from CJ Han to President, dated January 20, 2021
54                  E-mail from CJ Han to President, dated March 13, 2021
55                  Amended and Restated Loan Confirmation, dated April 2, 2021
56                  E-mail from CJ Han to President, dated April 7, 2021
57                  Second Amended and Restated Loan Confirmation, dated July 22, 2021
58                  Expert Report of Terrence Hendershott, dated September 28, 2023
59                  Excerpts of the transcript of the deposition of President of U.S. Trading Firm,
                    dated August 18, 2023
60                  Cover sheet for video of Signal messages between D. Kwon and President of U.S.
                    Trading Firm, at [USTRADINGFIRM]000024348
61                  Transcript of an episode of podcast The Ship Show dated March 1, 2022
62                  Luna Foundation Guard (LFG) Officially Formed as Non-Profit Organization
                    Dedicated to Supporting the Terra Ecosystem and Open-Source Technology, at
                    TFL_SEC_00173683
63                  Luna Foundation Guard (LFG) Raises $1 Billion for a Bitcoin-Denominated Forex
                    Reserve for Terra’s UST Stablecoin, at TFL_SEC_00169087
64                  Draft of Terraform Labs tweets concerning May 2022 Depeg, at
                    TFL_SEC_00169657
65                  Terra Money Twitter thread, May 12–16, 2022
66                  Token Sales Agreement, at TFL_SEC_A_00107715
67                  Luna Token Sales Agreement, dated May 17, 2021, at TTFL_SEC_A_00107811
68                  Token Sales Agreement (Seed Round), dated March 1, 2019, at
                    TFL_SEC_A_00107890
69                  Excerpt of record from SEC v. W.J. Howey Co., 328 U.S. 293 (1946)
70                  SEC’s Responses and Objections to Defendants’ Requests for Admission dated
                    October 10, 2023
71                  Corrected Expert Report of Dr. Matthew J. Edman, dated September 19, 2023
72                  Linux Information Project Definition, retrieved from
                    https://www.linfo.org/source_code.html.
73                  Expert Report of Raj Unny, dated September 29, 2023


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     Exhibit                                       Exhibit Description
     Number

74A                 Terra partners with mobile payment app CHAI to service the growing eCommerce
                    market, Medium, June 12, 2019, retrieved from https://medium.com/terra-
                    money/terra-partners-with-mobile-payment-app-chai-29c593f0a364
74B                 June 2019 Terra Community Update, Medium, June 21, 2019, retrieved from
                    https://medium.com/terra-money/june-2019-terra-community-update-
                    db904635afc4.
75                  Mapping out Terra’s ecosystem, The Block, April 26, 2021, at
                    TFL_SEC_00297596
76                  Chai Corporation: Introduction slide deck at TFL_SEC_00203348
77                  Stablecoin Startup Terra Expands to Mongolia With Taxi Payment Service,
                    CoinDesk, December 13, 2019 (updated May 8, 2023), retrieved from
                    (https://www.coindesk.com/business/2019/12/13/stablecoin-startup-terra-expands-
                    to-mongolia-with-taxi-payment-service/
78                  Expert Report of Dr. Matthew J. Edman, dated September 7, 2023, Appendix A
79                  Email from jihoonkim to chai-finance/api-server, et al, dated January 31, 2020, at
                    TFL_SEC_00223720, with Official Korean to English Translation and
                    Certification
80                  Email from jihoonkim to chai-finance/settlement-worker, et al, dated December 4,
                    2019, at TFL_SEC_00223957, with Official Korean to English Translation and
                    Certification
81                  Email from wool90 to chai-finance/settlement-worker, et al, dated December 3,
                    2019, at
                    TFL_SEC_00223960, with Official Korean to English Translation and
                    Certification
82                  Email from jihoonkim to chai-finance/settlement-worker, et al, dated December 2,
                    2019, at TFL_SEC_00223963, with Official Korean to English Translation and
                    Certification
83                  CV of Dr. Matthew J. Edman
84                  Excerpts of the transcript of the deposition of Matthew J. Edman, dated September
                    20, 2023
85                  Bank for International Settlements, February 2017, available at
                    https://www.bis.org/cpmi/publ/d157.pdf
86                  Excerpts of the transcript of the deposition of Raj Unny, dated October 9, 2023
87                  Tobias HunAdrian and Tommasco Mancini Griffoli, The Rise of Digital Money,
                    IMF, p. 2, July 15, 2019, retrieved from
                    https://www.imf.org/en/Publications/fintech-notes/Issues/2019/07/12/The-Rise-of-
                    Digital-Money-47097
88                  INTENTIONALLY LEFT BLANK
89                  Glossary of Terms Related to Payment, Clearing and Settlement Systems,
                    European Central Bank, (“ECB Glossary”)




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     Exhibit                                       Exhibit Description
     Number

90                  Allison Barr Allen, Payments Are Far More Complicated Than You Think, Forbes,
                    June 30, 2020, retrieved from
                    https://www.forbes.com/sites/forbestechcouncil/2020/06/30/payments-are-far-
                    more-complicated-than-you-think/?sh=8de7e764fc6b
91                  Jess Li, An Interview with Allison Barr Allen, Head of Global Product Operations
                    on the Money Team at Uber, Medium, July 18, 2019, retrieved from
                    https://medium.com/elpha-conversations/an-interview-with-allison-barr-allen-
                    head-of-global-product-operations-on-the-money-team-at-uber-7549c014c6be
92                  Harmonised ISO 20022 Data Requirements for Enhancing Cross-border
                    Payments, Bank of Korea, October 18, 2023, retrieved from at
                    https://www.bok.or.kr/eng/bbs/E0000634/view.do?nttId=10080032&menuNo=400
                    069
93                  David Mills, et al., Distributed ledger technology in payments, clearing, and
                    settlement, Finance and Economics Discussion Series 2016-095. Washington:
                    Board of Governors of the Federal Reserve System, December 2016, retrieved
                    from https://doi.org/10.17016/FEDS.2016.095
94                  Rebuttal Expert Report of Dr. Matthew J. Edman, dated October 13, 2023
95                  Letter to Terraform Labs Pte. Ltd. from FINMA, dated February 22, 2023
96                  Excerpt of Transcript of Oral Argument before the Hon. Jed S. Rakoff on June 15,
                    2023
97                  February 4, 2021 Tweet from @stablekwon, STABLEKWONTWITTER0001270
98                  Email from C. Xiaowei to J. Lin, et al., dated March 25, 2022, at
                    TFL_SEC_00252796
99                  E-mail from CJ Han to President, dated September 6, 2020
             3.      On or about June 20, 2023, in a teleconference between the SEC and defendant’s
     counsel, when asked whether the SEC had reviewed Chai source code, counsel for the SEC said
     in substance and part “I'd love to review Chai source code but we don't have it -- do you?" In
     addition, attached as Exhibit 70 is a true and correct copy of the SEC’s Responses and Objections
     to Defendants’ Requests for Admission No. 13 in which, when asked about Chai source code, the
     SEC confirmed it had requested such information from Chai Corporation, but had not yet received
     it. Henkin Decl. Ex. 70.

             I declare under penalty of perjury that the foregoing is true and correct to the best of my

     knowledge.




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        Executed on October 27, 2023 in New York, New York.


                                         /s/ Douglas W. Henkin
                                         Douglas W. Henkin
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                                         New York, NY 10020
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